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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                  Case No. 22-CR-115-JFH

RICHARD DALE DEETER, JR.,
DONALD B. PEARSON,
JONNA ELISE STEELE,
JOHNNY WESLEY BOYD SPARKS,
a/k/a “J5,”
IZABELLA MARIE BOLING, a/k/a
“Turbo,”
NICOLE COX,
a/k/a “Nicole Michelle Jenner,”
a/k/a “Nicole Michelle Cox,”
a/k/a “Nicole Patterson,”

                     Defendants.

                     Joint Report Regarding Status of Discovery

     The United States of America and defendants, Richard Dale Deeter, Jr., Donald

B. Pearson, Jonna Elise Steele, Johnny Wesley Boyd Sparks, a/k/a “J5,” Izabella

Marie Boling, a/k/a “Turbo,” and Nicole Cox, a/k/a “Nicole Michelle Jenner,”

a/k/a “Nicole Michelle Cox,” a/k/a “Nicole Patterson,” by and through appointed

counsel pursuant to this Court’s September 29, 2022 Scheduling Order (Dkt. #92),

file this Joint Report Regarding Status of Discovery and respectfully show the Court

as follows:

     A. Summary of Disclosed Discovery

     The Parties can confirm that as of December 9, 2022, 17,283 pages of bate
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stamped discovery have been disclosed, including written reports, financial records,

search warrants, and Grand Jury transcripts. In addition, social media downloads,

photographic files, videos of witness interviews, and phone downloads have been

disclosed.

   B. Pending Discovery Material

   The government is awaiting delivery of body cam footage of the arrest of

defendant Pearson and it will be promptly disclosed when ready.

   Dated this 9th day of December 2022.




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                                    Respectfully submitted,

                                    CLINTON J. JOHNSON
                                    UNITED STATES ATTORNEY


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                                      /s/ Scott Troy
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                         CERTIFICATE OF SERVICE


        I hereby certify that on the 9th day of December, 2022, I electronically
transmitted the foregoing document to the Clerk of Court using the ECF System for
filing and transmittal of a Notice of Electronic Filing.



                                      /s/ David A. Nasar
                                      David A. Nasar




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